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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-0433V
                                          UNPUBLISHED


    KATIE M. MILLER,                                            Chief Special Master Corcoran

                         Petitioner,                            Filed: February 16, 2021
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Tetanus Diphtheria acellular
                                                                Pertussis (Tdap) Vaccine; Brachial
                         Respondent.                            Neuritis


David John Carney, Green & Schafle LLC, Philadelphia, PA, for petitioner.

Mallori Browne Openchowski, U.S. Department of Justice, Washington, DC, for
respondent.


                                 DECISION AWARDING DAMAGES 1

      On March 22, 2019, Katie Miller filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a left shoulder injury related to vaccine
administration (SIRVA), or in the alternative, a “left brachial plexitis,” as a result of a Tdap
vaccination administered on April 25, 2016. Petition at Introduction. The case was
assigned to the Special Processing Unit of the Office of Special Masters.

        On November 21, 2020, a ruling on entitlement was issued, finding Petitioner
entitled to compensation for brachial neuritis. ECF 36. On February 9, 2021, Respondent
filed a proffer on award of compensation (“Proffer”) indicating Petitioner should be
awarded $78,056.91, consisting of $75,000.00 for pain and suffering and $3,056.91 for

1
   Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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unreimbursed out of pocket medical expenses. Proffer at 1-2. In the Proffer, Respondent
represented that Petitioner agrees with the proffered award. Id. Based on the record as a
whole, I find that Petitioner is entitled to an award as stated in the Proffer.

      Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $78,056.91 in the form of a check payable to Petitioner. This amount
represents compensation for all damages that would be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS


KATIE M. MILLER,

                Petitioner,                             No. 19-433V
                                                        Chief Special Master Corcoran
 v.                                                     ECF

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                Respondent.


             RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

I.     Procedural History and Items of Compensation

       On March 22, 2019, Katie Miller (“petitioner”) filed a petition for compensation

(“petition”) under the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to -

34 (“Vaccine Act” or “Act”), as amended, alleging that she suffered a left “Shoulder Injury

Related to Vaccine Administration,”or in the alternative a “left brachial plexitis,” as the result of

a Tetanus-Diphtheria-acellular-pertussis (“Tdap”), vaccination administered on April 25, 2016.

See Petition at Introduction. On November 20, 2020, respondent filed his Vaccine Rule 4(c)

report, and conceded that entitlement to compensation was appropriate under the terms of the

Vaccine Act for a Table injury for brachial neuritis following Tdap vaccination. ECF No. 35.

Thereafter, on November 21, 2020, the Chief Special Master issued a Ruling on Entitlement,

finding that petitioner was entitled to vaccine compensation for her brachial neuritis following

Tdap vaccination. ECF No 36. Based on the evidence of record, respondent proffers that

petitioner should be awarded $78,056.91, which is comprised of damages for pain and suffering

in the amount of $75,000.00, and damages for unreimbursed out-of-pocket medical expenses in
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the amount of $3,056.91. This amount represents all elements of compensation to which

petitioner would be entitled under 42 U.S.C. § 300aa-15(a). 1 Petitioner agrees.

II.       Form of the Award

          The parties recommend that compensation provided to petitioner should be made through

a lump sum payment of $78,056.91, in the form of a check payable to petitioner. Petitioner

agrees.

          Petitioner is a competent adult. Evidence of guardianship is not required in this case.

                                                       Respectfully submitted,

                                                       BRIAN M. BOYNTON
                                                       Acting Assistant Attorney General

                                                       C. SALVATORE D’ALESSIO
                                                       Acting Director
                                                       Torts Branch, Civil Division

                                                       HEATHER L. PEARLMAN
                                                       Acting Deputy Director
                                                       Torts Branch, Civil Division

                                                       DARRYL R. WISHARD
                                                       Assistant Director
                                                       Torts Branch, Civil Division

                                                       s/ Mallori B. Openchowski
                                                       MALLORI B. OPENCHOWSKI
                                                       Trial Attorney
                                                       Torts Branch, Civil Division
                                                       U.S. Department of Justice
                                                       P.O. Box 146, Ben Franklin Station
                                                       Washington, DC 20044-0146
                                                       Tel.: (202) 305-0660


DATED: February 9, 2021
1 Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future lost earnings
and future pain and suffering.
